                                                                          . --------   --------------
                   Case 23-15067-LMI            Doc 79    Filed 02/20/24        Page 1 of 10




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI-DADE DIVISION

 In re:

 ROBERTFRANKBACALLAO                                         Case No. 23:.15067-LMI
                                                             Chapter 13

            Debtor(s)            I


                        .NOTICE OF FILING RETAINER AGREEMENT



                                       CERTIFICATE OF SERVICE

       , I _HEREBY CERTIFY that· a true and correct copy of the foregoing was sent on
February 20, 2024 via CM/ECFto all parties registered toreceive electronic service and via U.S
Mail to Robert·Frank Bacallao, 3282 W 78 Street, Hialeah, FL 33018.




     CERTIFICATE PURSUANT TO                      KINGCADE & GARCIA, P.A
       LOCAL RULE 901l-4(B)                       Counsel for the Debtor
                                                  Kingcade Building
       I HEREBY CERTIFY that I am                 1370 Coral Way• Miami, Florida 33145~2960
  admitted to the Bar of the United States        WWW.MIAMIBANKRUPTCY.COM
  District Court for the Southern District of     Telephone: 305-285-9100 •Facsimile: 305-285~9542
  Florida andlam in compliance with the
  additional qualifications to practice in        Is/ flitnatfluJ S. :Kingauk
  this Court set forth in Local Rule 2090-
  1(A).                                           x Timothy S. Kingcade, Esq., FBN 082309
                                                    Wendy Garcia, Esq., FBN 0865478
                                                    Jessica L. McMaken, Esq., FBN 580163
                                                  Case 23-15067-LMI                                              Doc 79   Filed 02/20/24               Page 2 of 10



                                          ~TAJNERAGREEMENl.'fd.PROVIDEB:ANKRUPTCYREMTIID SERYl~S
                                                                                                          . ~CHAPTER i3: R:El':AINE:R
   .      ThisAgreement isbe1w.e@~KING(;ADE~'<i4Rt1A,.f.A,;.i('.'.I);~G"}@.qyoµ, tb:t:l Client (whether asfugle:orjoint case
referred to as the~"Glienf'). the aifd!ess of;JGN'GADE·&G.AtlGU\, PA is :Kingcade BUildirtg; 1370:.Coral Way,)'illami, FL:33145-
290:0?:30S.:285-!'HOO. Clienes cufrenfihformafionis;;                       -             ·    ·                     ·

  (;li(EN"f"N~(S)/.Afqmbre. d'et(fzie.nte~
  :P!tYSXcAtR.Esm.EN'r:ADi>ID:ssJDil:ecciam
    -   ,.,,~   "'.   ~-   -- ___ _.   - --·   ·-----"- __, ____ ,. ___ .7K________ -- -   -~----··   ---.- --



  ·~y~ ~fAfE-~_m CQD~?Ct/iilad,tadtgoj?o_staL·.
  ·mwmiIKtJfJii'ESS,,ifdt.ff~enii



·.Ml:i@i.um li~pecle.d. Basie; Fees: Client agrees fo pay· K:&G the Mirtimum.E;Xp~cted'BllSic•Fees ,quote_c[he.~fu. mi,1{
·. unC.etstands that tlie fir .l$:3it esffinateJ5ased o· .the· ·· tesentations and ilifofiriatfori ·rovrdeti iJ·tfil!l'ritto K&G attire
 ·t~~il1futi611' ~wo:r= 1h: Ciiff1ft. !riiaim~qfio~ Jb?~~; ::& it[y -~:i@~t~f@w~~
 . t~q@'ed_~c€l~ be:yondtb.:e $asiC; Sei-Yices defined hereJn; {ii) undiscfose(assets;, in.come, ,transfers :and pil}fer~c1;1s;
                                                                                                                                           tr ·§~~~Jr~~i~t$ iiciiliiing~ '{iJ ·
·. bft~=!;!()o~it~a~!;fi:~i~::,~:;~~~~~=ti1§t~}Qi1£J~t~fl:~~llu!t~!~r~•~mpl~ti ~                                            9
                Payme-nt '!'eon. ·These.: fees must be: paid arid· tire valid for a period. df ,4, monflis from the: date of this

•~~~I!~~::a!~~are 1::~:~f: ~r~~o~-=~>~~ti~~~~~~iw:u:=~~~~~~~l
  .unde:i;; the new Jaw;
                                                                                              0

                               time sensitive.1lD.d the passage of tiine stales lli:e:infunnation. Any addifionalfees:P,_aid:shall b.e
  @pJid;i .toW.IJI':.®'llie rot@:a.tn.O'!tilt.'due ~G;. Ailfees paid to:J(&B:c.ons:tltute. ~earned fee and.at~ hcm"~tlm'd@1~i
  Cos.ts!Gastos·include1 buh:re ~otlhn:iled foi S58S•007single:and :$035.00/jofut, as~follows::$,Jf3 court :filing: .
  fee, ·$'15 singfo/$12·5 joint Cre4itReport; A.ccurint ReporE$l7 }if:lrperson. creditceunseliIH?/$30candthe balance
  Tu offic.e,'&:·administra.thve cost incfuding: postage, copyfug1 parkin'g;,etc.               ··




                                                                                                                                                                                  nla
  1f,otaJ\Fe~ .& Uqsfs(jlfteF c-Ourl n~prova.l) i'Tdiaf<ie•hongr:ctYfqS ~ cosioi:(despues de Zcr:apr,obadbn;del Mrl?}. · ~=iS':S::i                                                     $'. :
 ~~~~~-;~,;
  ~t#1tii;~y~~'.Fl!§1lleL«!rttJ@gg·:Oi¥4~iii!t<!f~~t!tli:i!li.il9P.Prati9s~Alf~~ iJ~fl;e~~1,1.t!l1t~t~a~o.eJrqiff:t~:




 §£iit\J::::J
                                                                               Wf;BgtE:......W:MtA:MIB!>JiKRmcY:Cjji!! c.l!,MAfi;i 1sk@mi@lllianf<rim@:cam:
                                                                                            'f~~ J;,ef? Pplle..l'@ll.e.rJfjre_e~n.t:_;Jp]/fQJc.'j · ··
                               Case 23-15067-LMI                           Doc 79             Filed 02/20/24                   Page 3 of 10



 .l•_ .~('.()l'E()_!l'~~RE~E]WATION, ~ANK!iUPTCY ANAlrYSi:SiANDBA8Ie SERVICES IitOVER.. MEDUNFAMIEYINCOMB.
 K~G 1YlllproYi.d~ b~tpy related le_ga'f services to Client that may ohna)rnot include the filing of aCb.apt.er 13 9iililciuptG¥
. Ci~e.. C<il!!ffi~em.lfP9n b.eiligj'!!ildth,e attorney's fee8 quotecLabove (theMmimumBxpecteci or K'Basfo·Eee'1)~ k&cr agr~s i6                                                     ·
 pr2viqe G~~ntwith basic. Ie~?l 5:etViC@and adyice in c.ontemplatlo_n ofthe fiillg ot'a Cb.apter 13 case. The:servfo~ fu.9fode an
 ~~~~<!. J'() ]JQ!Jl'.~ qfcQ.!'.fihiJieli, aJ:fotney l:lhci paralegal tiinei that fociucfo and are;.expressiy iirriited to thefoiI6wllig;1¢ghl
 '~~ift"Yic~~~                                                                                                                   · ·
         · . (a) G"uffg__n,tjyf()i;Itfzly 1ncome.1Je.termfn¢ion: Conducting;a re.as.onable inqul:zy of Client}s 'ftw:rerilMonib.lyln.corne.




 ~~~~~i.i)lfil~~~t.
          (b) Al:iove}II~t/iii!J foiffllJl:lnJ;.{)ifJ?: IfQJi~fJl:sJ!:i!ttefitM9.fltfi}y fffe_6.ff1¢_ Is abqY.~ the MgifiiffPFiitn!l;Y ['@J!ifi~ fQt tli;e
 State oflUotlda        de.Dried bY
            - . aS...........       · the     us Census
                                        --.......              :Bmeir
                                                   -· ............. - g the - attorne·        fe~s il1--·-··-·
                                                                               _....... Y's.........   'ti6'ted ihclud'e
                                                                                                                 .. -.-- the..... review   ·--- arull
                                                                                                                                   ---·-·· and          sis otall
                                                                                                                                                _.... Y.......  ···-·
 documentation
            . .. andfuformadon'-re              uested.ff    :t{&G     tin:nak:e  a d1Ih~fin          .: .•. ·of Client's    trarikru   ·fc-relafecf   iY tions and
                   ..... -···~· .............. q.......... Y.......... _ ................ g __...... q1l!I'Y ............... ·-··- .-.P .. Y -· ...... P.........   ..... risks.
                                                                                                                                                                             ......


 ~xp~cyeij~i:~~~;i~fl~Z.~~1~%:Tu~Iir:=::~~:1iJ~li~i~t~~~f~!1~~1;;%:t~fa~~;!s~~t!i:lltC¥
 ~etitio · --scbei:tules file Statement o:fFmanCiai Affairs attendance at~the fusbchedri1ed Meenn cof' Credifofs · rQ,du¢tion of



 i\~t~~15~~=~=:t=~t~~l=::Th<
 Basic Fee- oted is te::filin: ~cost in a: routine Cfui: ied3 case •See c ar·-·c · h A.. f.i.tled ServlcesNot Providei:/Unde-e the~
 MinzmWn~¢~t~t.fliiisi¢F?1fQi~~ic.Itiif~iti~J~~--- ----· -!?--~, ----· - - · · :·r · .. ,.. - ··· · ······

 Client understands that only the filing of tlfe· l>ankruptcy case: an'd nll'ttbe retention               K&G affords Client the          of
 protections of a .Chapter 13· bankruptcy•. Until Clieni~sbailiiiptcffase- J; filed fu Court, Client will NOT have the
 protections ofthe bankruptcy .stay anff any pending Ia:wsufts;:pro2eed1Dgs;·rotecl0sure actions or veh'icle repossessions
 will.llot be stayed;. foreclosure sales Will p1•oceed~ and wag'eS:'Will 'iicnitmtli tO Jie)!atnished'by t:lienf's_creditod. tlfont~s
. bankruptcy petition           will not oe filed Ll;ctili'if:fifitil7ifidH'e~: jfid.~trisi'.fliii~·e '6feii:J,lii'd~-(ni.a'il't-egiles·reli ail~ttiitents :and
 ==~':!~'!!~~~x::~~~~;i~;~~;.:;;i~?~~~fJ:lf~~::
             2~ BAslCAITORNEYS'FEE"SE'oilBkc:SERVICES,Jp;ttli~ ~~.W ~~JY,i_g:~ il~~etl ab'o~e;in.paragraJ>}l, l(aJ thiough
 (c), C1fontagrees to payK&G ~e Mlnimum.Rij)ei::i~il}J3as1C~Feetai.J,g aJ.L9fh~ra,ttorn~Y§ fees indicated ufthls~Agreemenf pribr to·
 K&O: pro:vlcling. any pfthe contracted· Basic SeJivices. Failure to pay tQ~e'.fee& and c9sts willallow K&G to feriiiinate:ifs ·
 f~pfes~ntation:o.fcfi'ent andlorwithdraw from-the case. IfClient efocts or!$. unable to proceed with: the'filing:ofa Ch 13 case
 aJl,fJJtqiJJ.e)i:sfees and CO~'P,afd constitute an earned foecand atenOn'-refimdabfo (ofuerfuan·the c.ourlJilin,gfee:wbichshaIT·he
 t~fuiici.ecl t.O; ~ifon1~cff all fees: an~tcos!S·~ere ~elypaid). See paragraph 4 for. atiditional:fees. CUentJurtheragrees fuaf if · '
 ~qllection ~ff6.rts ar~ neceiis§ry·in:QrderforLaw Firm. to obtain paymen:tsto whichcit is;erititle:d under thiS.agreement, Client
 ~gree~!t&.at.Ia.w fum hasdt nghf to Impose an attorneys' charging lien agai!.:rst any'propeity, whether or~not property is exempt;
 Pt;f44@lientth.®'Qlientrec.Overs orretains in.a mafterfor
                                                         i        whichLaw Fitm ..provided .,,yon With legal representation.
                                                                                                               •
                   Mtntm.timEx,i_eeted B'asic Fees Based on Information Disclosed: The MinimU11J ExpectedBasic.Fee:is an
 §_$1:hti~tti'ofthe attofu~ys' ·fees bgsed solely ·on the infonna,tfon proYitled and tepresenfatioI1S made. by Clfonltn K&Gaf the
 ihiti~ .m.tomey&onsUltatfon and: Clientihtake IriformationSheet asttoX'Hien'P s assefs,:lia]Jilities and Current Monthly Income. :If
 1t .fs; 1a~r deten:Q!ned. from the information andreports provided tg ~G:~. 11¥i~ '<:;I;i@t,4~ y;iore assets andfg:r c:J@ht~, J;ies
 blismessl:is or entities (active or inactive); 6t the presencecof fraudlilEintor pt~fet~tj'g! fi'.!l®fers that wfire p:revio~ly_IJot
 disGfos~d toK&G'm tlie;Glfent's Infl:ik:e Information Sheet,,:&&G;. il}. ifs §.Qfe, filScfEi@n; re§e.rv~s th~ rigbttot~mtiri'a;~.~
 :t\gi'e.&ment:o:r" adjust the fee upwards commensurate with file add@pp,a.J furre J'.~qajt~g gflS:.~G t.o aj_?es§, fil~Jo§~l'!f.l~/9f@ajy~t;:
 i~ cPnsl:l.quencSJs.                                                           ·                                ·                                                             ...
                               Case 23-15067-LMI                           Doc 79                  Filed 02/20/24                       Page 4 of 10
                                                                                                                                                                                            _\




        '. S"ignilil;? Appointme,!lt-Failure fo' Complete.]f~J!-~W ~i&niM·lWPO.~;tg1enVH~qajred 0 lie{:aUse Clienffliils fo attend_
  ~Y schedu_I~dAppointmen'{, wishes'to reschedmeo:ii!'1i!@l~ tg c;~unplete~th.efp~@iqp;_ofl§§!I-~~ .arj~ethatpreclude the filinKof
  the cas~, 'Client ~grees,to·p~ran additional fee _qf_no le~s fu@: $750fo·J§8tG1or iJ:.new: Sign~ngApgofnfuient. ClientJJndersti:mds
                                                                                                   to
- tbq.:t.1J9e~ iS aif0rdM:a two'-hour slot/appofutment an:ttiliat fru1ute ·appear;-ot compfoteth.e case iit that time-causes l{.&G·to
  in<?~ a~d!tional costs:in·the preparation oft4e c~e th~ WiJJ be @!Jrg~g fq· Th~ ClisiAt;J~:wJ.:l!er;J1dditionalfeesoniay·becassessed fo
  (;li~nt if the source dbcumenfation;becomes stale and <m~nJ:' s.D1:1n'i!njMoyf"f!ljJ Jnco_me· and oilier source.documentationmust:be
  ¥P¥ted_iIDd)malyzed !lgaiiL. ClieJ?.t-may alsobe~assessed.a:D. emergency, ree•ifCiien'trequire~ a; Signfug Appoiritmentcia'te.
  4.efor~~ K:&'CPs fuen.customaiy waitin,gpe:Qod {wllich::could be up ta fffiJ.rweekS)'a'ffer paymentofall fees and costs due under
  thlsA~em~nt.                      .. _ · _-_        -           --                       · ·__          - -' _         --                                   _ ,

 --         ___ 3~ :(}1IAP'fERl3 BANKRUPfcr P.RotEss~ (!lj~nt fi~ p~eci l:!Q.Yi§e(i lh~ a·;CJ;iayter ,fJ' bailkruptcy is a method of . -
   reorgariizing;:aebts,for Client's with regu}ai in:Cqme;-fu ~q~~pf~~ :[3 t4~ Qlls:!l.! ~ pro_J)Qs~ ·!! r~mY-fP.entplaµcto thee creditors-·
  ·o:Vei a.p.erlcid ofthree ta five ye~. Ciien,t' s "".l:i,o~e ~1!fr~.t!b:iJ."'QiJ.!JilY !A.GO~'~ J~~·m!iJ!:m~ gppUc~l:iie:staf¥ g:redia:n,_ the:pfun.
   wi_ii be for three.years urilessthe coUrl foq:~~~. appxg~~; a:f.Qng~ia:?err9(j,;ffilli9,<!M~,9ajfl>e19Jlger than five years)~If'tl:xe ·_
   Clfenf'.s. ctirrentmortffily income is;greatertlran tµ~ Ji.pp_Jj<;:a,.Qt¢ $~~e'fui;iw~-th'¢ rePa.YJ!i@t pI"ait must genera:IlJ'kfot five years.
   Chapfer l3 ailows:theClient to protect hislherpropeftY amtcre'di.tors are foraiClderifrom:pro·ceeding:With colfoctioneffortS                                               of
   iillY sort w1thotit court approval. The?Olient will he'.reqµired to make riionthlx-Pianpaynienfs, with'the·fust Plan payment due
   thirty :(3Q)~cia.ys afi;er the date o{the filing;ofthe.bankriiptcy petition and~evely,'thitfY (30}.days fhere'afterfor tlie:term.o:fthe
   Pfild;- Atdlieni~s S!~gApJlQmtment; Ciienfwilll;>e pro:Vided-with two documents enfitled;Dehtor(s)Jlfotice:of __ __
   ffnilerstarz<JmgQbapt?ri3Bart.kruptcy Pr.01J.ess ·and Righfs,&Reiponsibiliiies'.Agfeemenib-eiw.een Chapter t31Je.litor(i) iimf
                                                 to
   KclJJth~Client wiUbe required. sr~·an:d sbal¥becmne part off.bis Agreement.. ·                                                                ·
     -            __ '.Vesting-of Plan Payments. All plan_payments.maddo the Trusfee during                                           the course ofihe pb.ari!er l~ cas~ shall
   be-v.e5ted (i.e, i;ir~no{l-te:fundabfoJand:sbaILbe-~clisbursed.by the Trustee to·.the sectiredrnrforify and acirnfuistrativ~cI~~man~t:-
  .mciudfu.~ I.aw Firm,, In acc9r~ce with'l~t-,:filed Ch.apter plan: Clie!lf wderstan<:ls that o~ce:paymen~are; Vest"._<4 Qlient·will
  n<.if i:e_ceive B;nypayments:maae back froinJhe Trustee~ Payments are rontmeiy'.Vesfed at' the fust.schedul~d~cO.ilfiifilat.io.ii
  h---                                                                                                                            .
    ~ann~.




  =~;r;ae~:5J:a1F~=~=~:t1~·

  -~~i!~f~;&111£W~ll:
  tana i;C5sts) ii{film-:, ob" ~ttiOns            -_c ecurea eta.fins •c order to ·mmfmize Cflenfis-::-1an-~a:-:- -eni:. Client'i~-r:es ·o~Jile f~:mn


.·~~=i!:\=:~~:r~a~:z-rt~va~1~~=@
  followiifg.mi!M:-~~~P~~apt~rl.?: !;IJ~qfo~ wlfg :ig ~ Qifg® 9"tp~anJ;ntJ~$'i:de:r!f t!t.f:Jg_@_~J_$ ®title<:! tWcJ~ i:lJ$'
             ,,         -.a    R9II!eSte<cl4 Exefnptiop., V[hicb may be; limited under t:Jte·new law .fo.$}25;ooo eq¢fy. eert~ Illni_~t_iQl}S may apply if(i)
                               El_ient has not reside_d-ill Eiorlaa for the 73'0.:day peiio1i, or'(ir) acgnired the propetty tluring-the ffl5,-day period      .
                               CimmediaieJ)( precedffig ilie :fillligoftli:e l)l$e;~ot(ni) anyijfqrtl9ff6tclTh!it'~ e@itY r~$Ultea frolfi-'converung;asset(sJ not
                         ~' ~r~~l~;~i:::i!~~;~ir~~                                ·c       !Tg:lt c~!l!!@. ~:<~II!~tlo!l;~-,t~OQ,~F                      .-                 , ,_
                        -~    -:M9wr·Y(ff!i9!§ ;Q~~~ti.tf~fu. ~ §_ij,lglst Y®~I~:oW:itlt ~t~~t,·~~ajfy YaJ!J~J!f-µ:l~;iQ $1QPJ)~--.
                       ~m:     :~lU§A. ·qlJfilW~c! ~tii~~ pl~:'IB;A!:Sr~QJ!J_C) pl~iJ>-~usf~ns~ ~~-~_gp.~~ts~                                _.      _ , ~ ~ - ____     _          ·"   ·
                       ,~     .Wa~~9.f t!i~JffeJi,4 9ffiuliily;:·~J~.a!Jj]jfy~ Sil~hl Secµffiy~,disabilizy; illriess.and uneropl.!JY,mentli:ent<fits;_::a.Ij.n:io~y,.:.s_µppoi;:t :or
                               .$.!;p.iil:iit'e:mll!nfenance reasoniWly necessacy rhtlli~support,of°ilie:clebtorand an~(depen<ieh~ worli:et~scompensatfon .
                               ~oen~:tit.$'llild.'otb.er categories,   ·               ·                          ·                                      ··
                                                                                                                              •       _r<
                                                                                         - - - - -- --- -
                        Case 23-15067-LMI                   Doc 79          Filed 02/20/24             Page 5 of 10




                    Disposable Income/Plan Length: The besfa~fig!¥ t~§t<5f'J 1 lJ~G §J':l4?&) ]!:QTI4~ !!}at Th,] Q!itp{e:t; U p~
{il'obligatedto orby the Tru5tee or a.tr unsecµi'.ecf creditot) eiflr~tpay ~~ecl ·¢I~J~$.!t'J!ll.! WitJi:'iQ.ie~S! ()teJ~e ptPv:ltJi·fu.~t
l;il}pftliecQffont~:s.dlsposable income will be contributed fothe pliirl,.for·i~~mffiinrnm: te®, J;}i§pq§@l~ WQ~:tl:f.e i$.d~Jmf:(;ljp;
§j~2$(b)p) a.S. •~current monthly income, " other thru;t child §lfppn,rt~filC"Q~~ il.QfJ!e¥e~Jiriryfo pr9\'.We §J1PP9rtJQf'~~ :QeQtti:r9'J.i!
qep~ridentof t:he:Debtor. For Chap.fer '13 Debtors whoseJnconie.is more .tngg:flie: applicable t:tfediap.,. iIJ.e D~btqrts ~upporl n:ee~
ar:elo?be. d.eternimed.under the1neans test for the·ptesumpnclli ofabus~J.mg~f Jl 1)$(;; §yO'{(l?): For·debt()ts w.qose fu~ome~is
                                                     the
e.qufil fc:}:-Qi'"gr~ater thanihe applicanlemedian, ''best.effo~"'tes1 Qf; §'])Z~lbhecnfu~ tbat fr!tlJ:e,aJ?senc~ ofearlier' lj:iU•.
payromi't ofai.il cl&lms?, the;pfan must haveia.five.(5)y:ear term.         .         .. ..

             Discharge-Superdischarge~ U USC §J328(a}h~ b~cy exp~de<ffo e~ceptfrom:a Chapter- Hi!. discharge the
              foilowiilgdebts; Thefoll<lwmgdebts.are deemed,non~dischiitgeab(e·and·~~enth~been·advised fuatifhefshe has
             .an):" o:fthe cfebfs listed below they wilLcontinuefo a-ccriie ·~terffe.s.t ~d,penaj.fies;
              • utmle~ lil!e-fil~!t @4 fia!J~i:!l¢P1 ti!Xt.fe~~·                              ·
              • .fraud; mcludmg credit cin"d r.nis:use
              !II   claiiD.s on which' the ]lolg~r qf tiJ.~ 4~1?.t w~ Mf prQ.V;i4~4 ~yft!ci~titm:>Ji~1ft9 <!!l~e~ ~ cla.im.
              •; ~OO.b§i~em~P:t !if~~@ o.Ntd.llcil;frJ'dti.W      ··                                      ·                          •
            · • pef.s"Bnatinjizjf bi Wrongfuf death ciafuis1. §1J28(a)(4) excepts. debts:arising;from ~'wiliful or ma11.dous;~ injury1i
                  Cfl'!atmg amore 1imited dlscharge        m         Ghapter lJ, The excepticm ~ppJ.ies. only efS;to restifutionor da.II).ag;e~,.
                   1J..WW'Q.~Q;;iil lJ,;~iYll' a~.tl:on ~@inSl;.theJ)elitori: Thereforedf nojuiigment on.a, p~rs.onal.in~ or~~gfqfd,eatb.
                  :!~~t~~~~&!r~:M~~~~=:R~f~1:2it~~j;;~t!~tay0fily 15¢ ay;ii1aJ~le ih~fiefJro.m stay
             Tlie :f6U!!wmg,gebf,Si ~ill! 1lti11 b~ ~.i&®:ill'gef9: p:w~ttQ!tllesUP,ettliS~nfil'g~~fiegf9f §:1a2:~'
                  • Di:biS• fof-Wl1'1f'ql Jllldhnaficfoill!wjmyfo pro:eetty~p.ursuant:to· 1i IJSC ,§.523{aI(6)
                  • Debts iri:curred to:pay nondiscbatgeabJe,tax oo1igqpJ>M l ftI$C §'~2J(a)(f41
                  ~ ;J)eb~ m:~~g:ftJ>Pi:Pt~ipe~ seJifernei1~ ·fo iliYot1S'e or @p!fr:atl:on PJ'.oQ.e~.@i~ fF U.$.!;::2:~~~~ (a)(l Sj"

              SupJ!OtU)bligatfons.ct:Paymentsl~eguiredf6r Confirmatfon:anirlf.iScharge; PW.-sID!Ufto ~1 USC §:l~~~@} ~




                 ,Eli!iioilify. A:P.fll:tdillidual, eve:iiif s.elf-.errtployea? or epefatfug: an ti'fiinoorporated 'biisihes::h:is
:~lrg{l;!te for {)hgptel:· JJ t:e11.eh Th~ Cli~nt umforstands tnat ill ardetto be eligible for Chapter' 13 teliefhelslie
mµsthi:i~e !PJ.Jl~Pur~4 '@~bt$ tbi;it:ar,e le~rs. illmr $~8~;17~~o:o and. secured d.ebtS .fha.taxe kss fhmi.$1,149>:525,Q(I. If.
th:e Clienf s ,debts ~~£~e4 'fhP.~~ ®l<JW!t~ li$te_d abgv~lr~/she. tfo·es. Mt guali:fy for Ch:?ptei: :US :t~li-ef. flle- Client'
as.setts~tfiat a§.of'the C4tte .Q:[pi]Iig fili'd:K~G ha.s.cfone a,gQ.(fd;faith exmnitration :!&at ure· Cli¢nt·is nof over the:
a1loWed debt lillil.ts'. In tfie ev~p.t t\wl .the::• Cllenes: c.~~ fa b.as~d. Pn a di~p,1.lt~ ·or th~ to..tat amount duewbich.tn:ay
                               Case 23-15067-LMI                       Doc 79   Filed 02/20/24              Page 6 of 10




    a~s~:~t::~
                                                                                Ai:te!!4Mci:- ai·Re§~:3•U¥~tfug'o:f:C:@.li!<!~'(B~e::f~ ~i,I!Jjec:t.J9
                                                                                '!ncreaseJind,CcinversionofCas~-fQ·!'Ee~~MP.ll<Lati.!lh'.' Gase-·        -
                                                                                'i:Io!lYiPiiontP CA!!ptet 7 (Sepi!rnfeJ~ Agre!im~1i:f:E.i:q,)
    'M<!@Ii t97fur£!i.!!.'.5e·ReiiJLP¢.rnm1iil pr.9perly r$75MO)                 :Pef~e·ofA,.dvet#ryiby;Cre.ditor (SeparitteEc;e,i\grei;JllentReq;_J
    '.M91!Q.IJ, tq~YQiifLi\m ($75!Ml0,-Per1.ien) ··            ·                :.oeposffion.Attendance;JDeotor., JIU; Ihnit'($1,8oo.oo to 1,s-00.00)
 ·'M9tioµ k.Reheat, Vac:ateP}swissal {$750.00) ·                                'M!ssea si"gnllig:Appolrltment~new'appomiment:-(f7So.oo} -
   MQtfon-to Tuc.urAddftionlil Tiebt($7.50.0o)
 . Motfon;io Shorten RrejiiC!foe Perio:dMmimnm of ($1'5o.oo)                    ;~~~§;~~l~~~~~:f.ds onci!c~ces~ ooutt.com
  'Mo:#on toi'_~ecott;Jahl~~ofti.erV-:af~~EAai Pf§P.eriY C$I,<)oo,g_QJ          -~r.i::~~:~~!Jj~Jg 11);!@g~)¥!m<;ii~H!9tj~~~-·       _ .        .
                                                                                -~:!~~k~:l~i~2~1::~~!1~~a~:p~:1f~CJIC~C~~
    Def~Il'Sel:ifP9St~CoD:fiiifilfti9µ M§@l! f9.f~~!f¢f'(-$.75Q:QQ)       .
. d\avi;J:~iift~gc~41!1~¥iP!l~tQI'• l!IJ.C!l.!}te_~ '($i,:$<l(J:pIW! c.Q.stS)
· QliMg1::&fAclmel!S'($25.0;0Q)    __ _       _ .·                              l?ile:Retiie.v:a! from:'Storage (~OOo®)
. Moti9n toJrirpose/EiiendA:iitomatic S.tay($156.061
 · ·Cppies.tofBabktilptcy-plea\iffigsidocuments. ($7§.0'0'!Jhd'up);
                                                                                ~~~:~~~l,i!~~=~~giijfeFee-AgreementReq:):

·                These fees; are based on:sfur).dard1 non.emergency:serrices;:wbich'.fees may ch~gy fromtime Io·tllrre. K&G·
 i:e.S.ei:Ves th~nght; m'.its:-soie tliscretion,. to charge additionatfees for'emergencys~rvice~ K&G aml Glientwillenfor into a new -
 t[taW~hCi:lgfe~me&f9r cl;fiy other:senrices not specltieally confem_plafed 6rpto:vided for. herein. Th~fees sfatedlierefu :are
 ~@mate~;Md~m ~ertall ibstan9e_s-mily~pro'7ide a raiJ:g~rntcilstomacy'foes cbarge<ffot particular andro~e s_ervkes.J§~G .
 t:~,$~tve§ th~.dgti'tll§ al.'ter~ Qf.mngemfuc:i:eti$'.e any-fee ifthe·services'n:e_qillred]n;Clienf s partitmlar, c.as_e will req~.additfonaf. ·

_=i~::i~ii:i~~\~~~2~~~iE~~:fe~?·~~~~!1!;~;~~1f~!:i{£!fii~;~~~~~J:k~: _ _:~~~ ~~:6~~-
 t$JOO)LJe$~i~~:LM~m'ilk-en:cs$11o);!ss0~1atef:attbmeJs·f$'4oo);;semor:paraiegats,($200)~0Jherparaiega1scf$Jso-)i:cnent
                                                                                                                                       0

                                                                                                                                                    __
 ~~==-:r~tn:n~~~~:!:i.1ilit~f~~~~f8;~k~t~:!!::;oj!;!~:~:c:!&~~;~~~;~fi~0t~Af!~~~~rsto
                                               .                                                                       .




·-s.~ro,g~~-ili~~iiilia1~B~:d6:~~f::V:~=~~\_:J:
 ~m~:rg'f<ney 11~i~ ~JW~~rJlf@:Jhe
                          pustomacy
                                                     ~~!~t'~~:!::!fu~fltt~qil!n~a!113~!1!!for·~-
                                     to tibtam-a.lieadng:=-geneia1iythree
                                                         tlm~                      reqi.rlres      (3) fo, foll!'~4;)-weeks)     tlratK~d
 '.e~!'lJiq,mf_<li{iQtialte.S{>pice.s to' ezj>~diti011Sl);'Tevlew1 ~JTICi. serve an~- notify aILaffected creditors v!a tdephon~ an&b~
 1;;@:§@i!e ote~marr :an.cfptocllfe a,ri.d,a.ttend, an .ern.ergency hearingffot wlJlth'K&'9 shall lie compensated atapremimn rate.
 ~Ti?n1 ~!fil!fi:'ll~dg~s !Aaf:tlt~ filliig ofiJI'l emergency:mQ.tfon,does not,guaratifeeJhat the court ;i;vilL set tlie;matter on an expedited'
 b~~_,. _Tue'~9W;t'Jil~y.·C!.ec1@ 9A'.itS !:i';VD:thatthe matter is nofofan\ ~meigency'.na:ture'and set 'thematter m.the:normar course-of'
 pl;l§WeS~. Cli~nt;s: are en<3ot!raged-to:br1ngany work requfred ordeskeci to K&G and~pay fufull the±ee with at least forty.;five
:(4~J to :S~''(~Q), @)Is of:t.itii~ prforto dea.iiline ofr~uitedidesirea :work.                · _                    · ·
                            Case 23-15067-LMI                   Doc 79          Filed 02/20/24              Page 7 of 10




          · ..5... TER.i"\lfS OF'PA\iM:ENT WITHIN 60DA'Ys. This Agreement (and ail fees and costs quoteciJ1erefu) sfuul only .he1valid:
 for sbrty.(60) daysftom theJiafe of fhls Agreement:(but fa no event more tfran.120 dil.ys~:from the initial consultation). ..
 'Th~r\~afteJ."; U<::h!'lserv(:S therig~Ho charge Client additionaLfe(:SJO contihue;lts represenfanq,n ofGllent orµanc~itllls ·
 Agr:e:~menfi the actditionai ml_rrimUlll charg~ shall be ~3UO for ·iiny additional two month period that exceajstlie P:llticil~60 days
 f(fforded Cfieht Client understan& that tlie:infortnaticmneeded'to assess Qlient'.s Current Monthly Income. & Means Testing'is
 tim~ .s~A$i1iv~ and the..passage.,ci:f :fune requires renewed analysis. AllfeeS"and custs~paid{other than court f\1mg f~} shall;be ·
 de~m.ed :eNned and.~on~refulld~le affed{~G's retention..                            ·                          ·    ·

            6•. . Attorney?s'Fees; ·• dllentagrees to pay K&G attorneys'' fee of nqJess:than$4~5.00:00: (oragteater l:llllount If
 miliga~d;wqve}; ofwhlch.thebalance D.<it paid priorto the filing oflhepetition.slian be pruClvfa:tfie Chapter 13 PJiJD, __Thefee5
 may b.¢ froilt-'eiidfoaded in the plan at the;disctetion ofK&G and if permissible given the repayment plan pfop<)se& If Clfont
 ~foits notj;_opfinn the Chapter· I} Piaµ, Clientcagrees that an,Y'funds paitLto the Chapter 13 Trusfee,sfuillJ:i.e:pafd'.to:~<hai; ~
 oom}JiJml.llive iXpe®e ofthe Client's,hankru.Ptcy up to the 'fotaifee ,contempiate<l l;ly this agreementas 1ncii~i:;,t:~d if!. ih¢ l~y
 fil~~lCMptsil' 13 flan>: Client unciers.tands ffiaHailtir.e to,pay the foes and c:os:tsreqµired'by this Agr~emciiiHYill alloWK&G to
 wittl®!..W;t/.'Qm:client' s. dn~pter 1;3¢as¢. If'Cllentciec!des:;notto. file b~ptc:y·after.K&0 b~~woi;k og,Cll~nt',s;fil6-i ail
 {~€<~mill ¢.9sJ,s~g~d,by oU@It~rK'&o co~fituJe_,an ~ed i'e.e are don;;._:mfun&b1e,,.                            ·            ·

 ·~q.tj}lJ~ip~1~~~:$~::;~~~::t~lli::~:~~~~iti~~f&~::~cf:i~\tfL~~;:::?~·!~~ -~i~.
   re- aid b · ,tJienk;:('ilf ·   · cf a:melidlnern fees .. creclibcounsellic iuitl'nna.nc!al iii.Ima ement co "e.. , iril:l'r~ refer:a;tld lt®Siafuig ·

 =~:~=~~1;~=b=,;:~~!~=t~~~Oi~
 :that'exce'6d theo'initiaft(l~ts_colf~¢ted, ·                                                               ·

           :s. Change ofAdd!fess:I-Telephone. .Ciie:tlt-s~~U advfse,K&:G :ipiwriting:ofanyc1range fo:Glie11t:s address or
: 1§ieph.on~ numhers.         ·                                        ·        · ,.     ·     ··               ·

        9. .PRonuCTrON'i>l!D:OCTJM:EN.rs _:_NO FAXES ALLOWED'. Cl!e,:gtwiU\1Q UI1dern continliing'dutytaprovlde
' K~Q and the:Cha.ptei: 1'3 'rrusfoe with all requ~sted'mformafi9frand doti.imentafiQ~ n~ee§sfily fot the preparaffon, c-Onfilm:atfon
. 'and:ilis.2harge,ofDlient's CaSe. ClientcmUst 4~nverfo,K~G,a.t:l~~H~t;1;:0J!)~@y~ befote,t;;lf(:(l:(f§:§!@!Dg appolDfm.enf legible

 ~=~c~a;i:J;::~:J~t~::f.£:ci::1f::~~~~~~~Qr~#~fJ1i~~~fufu~ii!}~=h!~J~:~~~•~Ml.,
 Glientmid~fsta:n&· fhaUllls ifi.fonnatiot.Us essential for K&G's :ef:feclive're -·esefitation o:fC1fent and the,sttcc~s~ J:!fClie.¢~s

 ·::=w~ci~~~~~~fs~!~~~!1~;![f~~fo~~~:;fi~~=Jti~~i~~:~::ff~f:J:~i~:~:~~~f~~~~©:
 ~ther.e6t K&G,wor~.~~tJi: i~,~C!ie~!(~y
                           office            -·    · ·     appoil!.~~~~~o.J!it~
                                                           ·          .. · · ·
            ,J.'O. Eutl. DfSdostJRE' Ai~-AtmioRiZATibNiEoR.CREJft:tREP:oR.K 'GU~µt ~def.s,ia.tids'iliaf at the:slgping of.
 'dHen~s-b@kruptcy petition., Dlientwilf be aske(f to fj]Jly ancLaccutately dl$Clbse and.Value ALL of Client's assets, !febts'(te;.
. cr.e.d1tor~1·it).come and e~ense, .It isc.Client'.s reSpOQ.s,il?!lity to provide.r:aw:J1;irni' a coroplet~ UstQfClfonfts'eredifors~ incltidi!!g
 :the 1~ftln:ee statemerifs: receive.lt:from eac1r,cred1fo1.,, 0.bfafu th.icr:efiliJeffQffprQ.videclJfylsi3ZG.:o <ilietftat!tho:tiZ~ wr:Y cr.~dit ·


                                     . ~'.~~(~~l~· Sp~us.e~s;~ig;n~tur.e__________,-:__ __
                                            Case 23-15067-LMI                                          Doc 79                     Filed 02/20/24                             Page 8 of 10



. ,rep()!ifu,~ if&~t!9¥ tg -ptQyi<,t~ K:~J;J:@ fufq®J!tiQtlreq,~e~_c:J,ID'~l\!1lrng}JC-g:o@hii.!iI!'.J:>Jl.ni,)ctl®f~$.!lD4 c.:t:ed!fhlstoty. Client is
- adv_iseg]b~ 91Jl~5:ni!t~- ~ ctec:Jit n;ipQJ!4;o~e.s not msiir~ _flmt'. fill ()fQti§!if~ §~~C)jtqr.; m'.e- g!S,gl.0!?~4 tll~t~i!J.-al):g ~~Q;mruces 0(}
   represt'lntat!ori nqrwanap:fi-e§ @!! !i.U q:ftfi:H'.;Ji@.t~~ ~te:wfoE§ ar~ cl~tJose4 fu~t~l\:l., G!lifiilt:rerµ~ solely responsible for
   certifying.truitallcredifots
        · .                         tisfea
                                       • fu--- the    --------~--P-te~y ~-:!?. efition
                                                -- - banirni                    · -.--- .... ·a.re
                                                                                              -- . tom.-1ete     --·-··· aicurate~
                                                                                                    - . --.P-~ - md      .... --- ~- · · ·                   --c   ...




                  U .. KVoiD.ANC:E:oF-JUbGM:ENfillNSON CiJENT!S-llOMEsTEAD.JfCJienl b@ l:J.l:lf!.Q s~d,and_~;EiJlfil Judgment .
  ~:i:~:~~;;~i~~~(i~~~~:~~!1:j~:z:d{~~~{~~~-:r~:!~~m~~::~iii~!~~z~~:pe·of
  tbis.A;gJ-eemenbu1d.:requites a sep<!fB:ie':f~e, Cii~IiJ m11.stP1-:t?v!cie.J\~Q·WifP:a Tifl~-§e~~IH1.t copies,of:the liens, ·at~Clie!lfs ·
  expense1 ~efor~the case iS closeCV,;ofue~e~ _Client wiU 1Je thar~ed:aaditi9PJ.t.lf~es:& coshdd reopen the,.case.. ·

      --          t2. _NO Gu~S:; K&GWill)rovide conscientious~ competent and dilig~nt serv!ces and at aittlmes 'Will seek-to
  a~hieye sphitions, that aiejust andJ·easonable:for. Client. However; 'ClientunderStands that K&G.does NOT guarantee results
  hecauselegal proceedings are 1.ID.ceitaio., and there areyarious interpretations, recent. changes in.·the law and i,mknown-facfors
 -tQat:mi,ty.afterthe o~tcome pfyp:ur case. Client acknowtedges.thaHhere iS'N"D GUARANTEBfo th~:succ~sfui outcome. of
  clienfsha:niauplcy case, the: defense·of any motion to· dismiss.or adversary              that1fiere are, m.fact; signi:l:itant.dsks J£ a      and
 ·rr~ec:r <Ji' GreciiforpreV:ails m.an.y actlorr.: Specifically, iw.-d not by limitation, a.Clµpter B baiikruptcy case iliwl\res·the:
  jucllcia.Lconfinnatfon;ofa.Cii.ent); case where.the'Court:and Trustee will balance tb.e ·euent'smeed for.a fresh.startwfth.Jhe·
  ngbtSofcredltorsto coiled oritheirdebfs. Additionally, ff'Client seeksto;pursue.'(i)"the ~·Stdp off"l'.Le. elimfnatlori):ofa -
  secop._d.or tlilr&mortgag~ ori: 6lienfs homestead and/or (ii:} "strip.down" (i;e\, reduction)ofOlient~s "tZehlcle@/personal
  prop.erly(s) lfon(s), Client.has been adVised,fhatfn.either event, there is NO GUARANTEE to the, success of a ''strip ofP' or
  "stri.p ilown'.'as both•situatioris ·ai:e w4<;my--Qep~ndenf on the· Cg~ Q.ete11!1in.]fi«>"n e>:fcthe va1uation:oflhe collateral as of the
  :filirig date-of:the petition and the age oftb.e li'en, £e.. wnen: the'1ien1loan, was pnginally inturied. Similarly~ irithe. even that
  Glient' s Chapter 13 Flan is a lQO% plan to. urisetured creditors,· K&1Jdbe8 not guarantee the.aillount ofthe PJan_payn;ienf
  ciuring,the cotrrse otthe case a5 this ':inay change depending on the Gourl's finding as,fo the:cfaims filed'by. enen:fs:cr6ilit0rs•.

   · _            13~    1XMitEfi POWER OF A'.ttoRNEv•.Ciient·grants K&G a limited: pow.er ofattQmey to Pbtafilyillir t~ mfQ@<!ti2u
          wi(n,whoi:ttyou.bitV,.e:consultetlxegarding tax returns:or preparatioO'or
  it1>m '®Yo:rte                                                                        URS), ·                                                                therntern.a.l:E.evicmu~.s(itY:l.9~

  ~{i~~~~~~~ii:t:l~~~~~s9~f~~~~~~=g~t~r:~~;tlp,ti, sJntllaxly}W~G~ ~&!Ii2rr@!!to c<?I141!;t@ ~e!
                  14. EtEGTRlJNICCASKFIL1NG SYSTENI. ClieD.E authomes'K&G ta file tilenti.s:battlrnFfc~·. case'Viii·fue.B;3:Ilk(U .tc
  Gti1Jtt'~fm~c:h:lf~~~~§F'!llilgsy~iim<'~GEf~'®ijiu-01b~r~i.~~IJ~gi·tti~iiii~~itifri@1£i~F. ~Qli~nt~er-~~~ifkl
 ,:K'&G_
  ·--·- . ~··if
             __ ,,d_-ieated:beluw."to               .. ·--·-· ........ _J_, .... _.... <o---~"an··--
                                               -ro\i:_::1·a·e,.,·c·11_en-F:n·bti"·c.,e·
                  ... , .............._.,, . J.l.__
                  in_·
                                                                                         _i; _.. .)' · ci..-e-  -,;,;:n-"s· -'.......
                                                                                                        u: ...0~·ll!:~--       o:r": o""t..·e·r-:m·-a
                                                                                                                                      1µ1________        ..___ ~:;;·a:e·1·e-·c,i;.nm·'c1m·'
                                                                                                                                                    . tt·e-rs·  ! L .. _....... u. --: .. .. __ -~~
                                                                                                                                                                                                <Ll!i:as--_te
                                                                                                                                                                                                    1
                                                                                                                                                                                                      __, ..•);I."U_estea-oefoW_.~--
                                                                                                                                                                                                                  .. ............ _ .. .

                                                                         . ,ctl:ENT'S ITtrrlESl\lYtl:OBLIG:AifoNs
  Ng~'t!f~}~~:~~~~~:i:~~1~:~~:=.~zrz=:~~~~~~'i?~=~r~~:~:=%{~~~~;:1~~
  lliisa--eement tr· ::referenced anClw1tfiotll:·lmntation:. client sham ·
  ........ - .l?l'-·:-:---------.--Y-- - ..... ,,. ............... ,.......-e-~·-::·:--------- ..~--- .... ----·-·-·- ---------
  i>isetosti:REs-ANIJ;INJl'.<1RMA'.l'ION;a:t alitmres;                                                                 ·
         ·.. . Disclcisi;'~i.A\j~~~ m,:tii,~-i~~ceiiieqt Va;l'.@~; 9.tJtt§tltMgtithlyln,t{JfJj~ ~cF l]lqntlily mc9me a+!CT expenses:
         ·'!'     Oisclbse A,Lt.Debts ana~provifie;J{&y wifu i;q~ iwl? fi.iQ§!n:~ent c:r~filt&t ~t!;ltewe!l~                                                                    Qf'communicafions,
         •• 'Disci.<Yse'ALL ttans~.r~ !il!4Pfefer~e~ ~fprgp~fur(t~~T. p'.§r$®@. ¢Mli. et¢)~ such transretsrare gotpetmlttea:
         . ,, ·· ::eroduceAtL Oncume,~ts:'afid Iriform:atibrf ieque§ied.q_f ql~1!fQht4e a.~ehid Ddctlfififnt::andlnfoniiatjort J;isl.
         J'!      Change of'.Addr.esi!l'elephontf/H-mtill. Client.Shafl.adYise'K8iG itLwrlfuig-;ofany cbafig~fo:Client',s aadress1.telephnne~
                  or'e~maifadaress afaltfillies; This A:greement:is subject tp=CJfop} permanently residing:in Miami~'Dade County. If
                 'Clientmoves fr()m this County,, Cli~nt ~!!It JO,r:(~t'™I ~ee§ :g~.ff.fo K(,1'4.G'~d lliisckgre:~rqent,s!@l be deemed cancellecL
           ~ F'or_e~ldszir.e Sqle ot Gcfrriff/jiftf!rJffY.otffJ¢q/[9f!.:, .t;}i~p,t-m,~~9tjfy K~G' fu writing:gffill,yfore~lp[U!'e;safo date or ·
                  garpjsbmeni: ·                              · .                           ·              . ··   .,

         .! .•i?:::aJ:b':!!~~~~~~;~~~i~~1ff~W::,i~~!~~lft~~~~~~eq~=l~ie::provide·
                 :=~lit!:"ii.Ti:!:tle~i':=;11~~i!
                                                                                             ·;r(~&E911$.~'sSi$Jlal:w"~:.-~~~-~-~,,,...,....~~~
                                                                   W@§ftE;'.vwwiM'.!A:MIBANKRUPTGY:.r;:oifi,- ii-Mbf4;'tSk@mikiDimlQm;t<W;Coiii
                                                                                      f.gge7 Pf?:~fJl.g[ai.f!..l!rc/J:p-e,eme.nf. -1-U'J."IQ~/2                          -
                                Case 23-15067-LMI                                   Doc 79         Filed 02/20/24             Page 9 of 10



           .~k@,pij~1_l:>~ptcx~comis an acceptable fonn of communication buf the e-inail,_.including aftachm.enfa, may not
           e:xc.~~wo niegabytes.                    ·                    ·
l'fil.QR'fQ ,flLJNG,OF CA;SE.:.
     •· ff.l:Y filHh~ r~_qJflfe<f:fees ttn<f cPs'ts.                                                         .
     ~· ~~6tf~~P£~~~~~~~~~~~J~:r$J~1~~~Zi~i.A:i;~1:sfu1~<l~!~!;:~1:s~~~:i~i~~t~!~mb~·AQ
       ·sli&U :Pe providM l:>Y. Client as,a.pie-requisite tothe Signing Appointmentand.filing.oftlie petition,                 ·
     • TilJJ.ely provide:K&G: with fuilancLaccurate;finaridaf and <fthedriformatlon requested.as, s_etforth iii tll~ at4i.¢h¢d '\List
        ofRequestedDocumerits ·a.nd Tuformatioil'' doc!lment and·filc0rporated into this:agreement bywference, UiciUd~
        properly documented proof.of               ;8roufof         income.             fucome
                                                                      inClutles~ but fa·noHintltedto; signed copfos ofthe·dlienfS: last
           faur
             (4j file&tax refurns and tnepay:smbs:or payment adVicesfoithe six(6}months ptlot to .the. contempfatecffiilng ·
        date of:the bankrupfcy:·petitlon:                 ·- ' '    '                 ' '                      '    '      '        '
     -~    fufonnK&G, in writing, of'aIJ.y changes fu;address ortefophone:number:
     "'   Provide K&G a copy ofaUpurchase contracts relating.to cats or sfate:rnenfsretleCthi:gdate:orp:urchase.:ofhousehoid
          goods2suc:h as :furniture, tefov1~fon.sefs;, etc. ·            · -· . ·           ·            ·    ·        ·                 ·
    · iJ, Att:erida SJgmngAppofntmentatK&'G?s offices (minimum tW:o hoursJ.                    . . ·.
      j_  'Complete approv~de<:lr~itCoJJD,S~1ingDolll"Se and provide::k~G_ with. completlon.Ce.rt&tc~te,             .
     -~·. PrQ\dae a.·~g@"{zed ci.ffida-rltihat tile .Client(~) hasfi/~J"a:ij f'ed'ei:ai; state,andfo~~ t.e~ t~q\lit('.:1fpy faw·tQ lj~ jj,J#i;
          . iJiid~ If tIS© §1 jifs for aliJiiXabie pJ<:riotfa. ertdTug <iurlng the r0ilr (4)' year p¢r19dJ~tiqmg. on tli~dij.t~ offiliiig.t1fth~
     ~ .~~i~~n:tt!:~ejfcl~~t.~~e~R~:~i-~=otreqttii:e_d b~·~jWlkialAiidlot &QmiJU~®tiv~ ot!l~r5 Qr:Py ~!!hi~ ·
   · t1. , to   pay any·dorriestfo stippott obligation asdetmedJii n tiJ,s~c. §10f(i4A)~ .
                                     0




~R:~~=ii¢ :r::;.mYestigatfon of reqi,\ests i5y, the C.<imt; frPSte:ei· ofcieditQr}' ot aft~tth~cas~J~ 'ill9$~d, tq i!P.YAW:ljt
                       0


           performed by thet.fs ti,Ustee fo verJfy· the accur!lCY of;theinfoimatlon.containedlli.:C]i~iitis ~ti#dfl, f clilw~ t!'.f
    :-. t~1i!~~~~~~fJ ~~fufu1!:1~~:cl~:1:~~fS. f~que.st~<l PY'~~ 9h~pt~1;{ t~~, ..

  .~ ~iifisliilfff~:!~~~n\
        ·'·c~e. IIBiient dges l,l()t5peak-'Eu:g~,, a.Spa:rli§~igt~rptflte1"i$ re-qurrea .aticost of'$3Dt0Qfu caslHitllie '.time,oflhe.: .. ·.
          meeting; Client must a]}Jeat 'ati:he: ;JAl Me'bfurg;of'Cteditors :wifu;origirral proofofidentificatlo~ sTut~ issu.ecf &l~els
         .Iic:ense'Ot govemmentiiSsuedJdenfil:ication card, u:s. issu:e.}tpassport~military'identffication, an4 res!tlen~aj!e!J: c~. If" ··
          €lierit is nota.U.S. Qifizen, Qlienf;muslbrihg hislhet oliigjn~ resident filien orauthorizatiq:ot.cardto·the;3~1 'fyi:eetili~9f
          Jtreditqrs,.:A:c·eeptable fo:rqi:; Q!pt0of'\;lf!lociru sec~ efiitnoer ate an origiµal soCial sec'urity·card,, ami;:di~al ins:uranc~
          .card contafuing.yc:mt soc;ial secUrity:number;. a . pay sfub con~infug.your socihl security nl1IIlber, a,n otigj,paj 1'D·2; fO~ . .
          an ol'igiruil:JRS'I:<Jrn:i.. l!J9fi ll!Ill!~;QJigil!al-~QQiall~~~\!lijy Adipiriistralfon Report:                                                   . '' .      .
    "' NJ'.ajfe tb;_~:fu§ife.qllir~ci:pl@TH1l-Yilre.!1~tg tJ!f: QQ:iJfrI~r 131'.m§t~e.@ :!{lt~t ~ait'30: days ~er the filing of tile.petition or
        · tohversfon       of Cha
           ..... . -··· ......          ·-·, 13
                                ,.....!~fer      aria
                                             .-....,... furreI.:tnak:e
                                                         -~-..... J"··"·-··· all    ....... qui:nt
                                                                                  siibsif              ·a ents.
                                                                                              ....... P..l:Y!I!L                      -       .. -                  , ,~
    ... -:liifot.rn  K:&G     otrui=--,    armsmb.entS-·-Ilens           ot
                                                                             ---·cc
                                                                             levies     on   iissehdhai<Yccur·
                                                                                                                 ......
                                                                                                                        or corttiriue aftedhe
          ·-·····-·"•"'"·•·"•.·-: .. )'.~~ ...............•.··--··· ---- --""""" ...... ~········;--·--·· ----- ·"" --,·-- --·· ,,, . ': g        case.
                                                                                                                                               filin · offlie !'


    *     ~~~~~~=~l~in~~i~f~:~~:t!l~~~~~~~;:~~°.f!'~r;~=:~:~:~m
            .. _ ........... J~.-............ --~--------~--~:!1-............. ~.--·----·-- ..--- .. •.P ~_.ury,, _ry~rs~~:=~e~~
                                                                                                                      . K.  .  .
          ·any other:maferialihcr~aJ;?e or:;d~ease'filincomeol'1assets, · ·
   ·"     Nqtify K&Q.inimediat~fy 1fCliegt i§ S\l~d C>J·Wj§h._e$: to fil~1a:Iawsuit, including;; divorce an<fma:tters regarding pers.onai
          :or:prQperl;y'.llijmy. . ·· ·                · ·                    · · ·          - -· ·                     -
   ' IL   J\lonfy- K&q':if'tfi.e QljenUintlS it n,e<;esS,azy t9 mcur'a,ddiqonal debt
     •• Advis~K&g, via oftke c~nstil~tr9ri, l)efute']utcb~illi;.se~gmr i:eti~ab,cihg:anyreal propertyorbefore·enforinginto
           any loan agreements:to detetrn:ine:requited procedures· tot.court approval · -- ~ . · · ··
    •!f '!forstianJ1o rl\USC §521(f)(4) the°Ciient:milst;file:a·filland~hl Statement ~!rally, und~r penalfy:ef.perjuty;.sho:Wing _
           incomeiand expendifilfes ofthe Glient.dunngihe tax.yeai-~ ~e ann~ ~tatem.entmust discfoseithe amounfand. sources
        · oflhe inc.om~, th'e'identity :ofany J>erson"-res_pQ.QS\b!e_Witii~i; del>fQr'for1Ji~ sl±Ppor'f ofany dependent:ofthe-debfo~;. and

Dlient'sSign<i.fnfe        .•   ~1"·0'~   . . . ,,_,...,,:_   ..   ·:=• ·}·~~-=:l~~t ~j>()~~'~'S.i~~M"~=-~._---;,,.;~~~-~~~""='""'~-e·s,.,·_,,,--""'--==···
                                                     ·~fyEi'7izifff:llfJJ!JJi:J~:i~=~~Jrtc ·~prn                          1
                                                          -·   - - - - - -- -· ---- - - --------_,
Case 23-15067-LMI      Doc 79          Filed 02/20/24            Page 10 of 10




                ·~';:;:::/~~SpoJi.se'sSjgnatur~ ---~-..,....,~--~~~
             ~~~l%1~~~·com - E~MNTI: ts1<@miiimiBan!ri'iffiteV:cciiil'
                 ~o.f9:iff:l{ef41iiJ!YAB!eemef1/4aT'f4s:? ·
